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Case 3:02-cr-05719-RBL Document 23 Filed 01/31/03 Page 1of5

Judge Leighton

    

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CLERK US. DISTRICT COURT
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WESTERN DISTRICT OF WASHINGTON AT TACOMA,
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

UNITED STATES OF AMERICA,
NO. CR02-5719RBL

Plaintiff,
PRELIMINARY ORDER
v. OF FORFEITURE

ROBERT R. KEPPEL,

Defendant.

 

Pursuant to Rule 32.2 Federal Rules of Criminal Procedure and based upon the
guilty plea of Robert R. Keppel to the offense alleged in the Information herein,
charging him with knowingly converting to the economic benefit of himself and others,
trade secrets belonging to Microsoft Corporation, in violation of Title 18, United States
Code, Section 1832(a)(2) and Section 2, it is hereby

ORDERED, ADJUDGED and DECREED that pursuant to Title 18, United
States Code, Section 1834{a), Robert Keppel’s interest in the following property is
hereby forfeited to the United States of America:

1, $12,552.77 in U.S. FUNDS , more or less, from US Bank, Account

153607353031 in the name of Keen Interactive Business;
2. $1,062.12 IN U.S. FUNDS, more or less, from US Bank, account
153591054652 in the name of Robert Keppel;

3. $1,570.16 from US BANK, more or less, account 153604461670 in the
PRELIMINARY ORDER OF FORFEITURE - 1 UNITED STATES ATTORNE
601 Union § , Suite 5100
(CRO2-5719RJB) Seattle, Washington 381013
(206) 553-7970
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name of Robert Keppel;

4. $41,785.93 from US BANK, more or less, account 153691259540 in the

name of Cheat Sheets;

5. 2001 LEXUS RX300, VIN # JTJHF10U910197713;

6. 1997 FERRARI 355 SPIDER CONVERTIBLE, VIN #

ZFFXR48A0V0107499,

IT IS FURTHER ORDERED that the United States Marshal shall seize the
above-described bank accounts and vehicles, and maintain the properties in its custody
and control until further order of this Court.

IT IS FURTHER ORDERED that pursuant to Title 21, United States Code,
Section 853, the United States shall publish notice of this Preliminary Order of
Forfeiture and of the United States’ intent to dispose of the property in accordance with
law. The notice shall run for three (3) consecutive weeks in the Seattle Daily Journal
of Commerce and/or any other appropriate newspaper of general circulation. The
notice shall state that any person, other than the defendant, having or claiming a legal
interest in the above-described property must file a petition with the Court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is
earlier.

The notice shall advise such interested persons that:

1, the petition shall be for a hearing to adjudicate the validity of the

petitioner’s alleged interest in the above-described property;

2. the petition shall be signed by the petitioner under penalty of perjury; and

3. the petition shall set forth the nature and extent of the petitioner’s right,

title or interest in the forfeited property.
The petition shall also set forth any additional facts supporting the petitioner’s claim
and the relief sought.

The United States shall also, to the extent possible, provide direct written notice

as a substitute for published notice to any person known to have alleged an interest in

PRELIMINARY ORDER OF FORFEITURE - 2 UNITED STATES ATTORNEY
601 Union Street, Suite 51
(CRO2-5719RJB) Seattle, Washington 98101-3903

(206) 553-7970
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the above-described properties that are the subject of this Preliminary Order of
Forfeiture. Upon adjudication of any third-party claims, this Court will enter a Final
Order of Forfeiture pursuant to Title 21, United States Code, Section 853, in which all
such claims will be addressed.

IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), Federal Rules of
Criminal Procedure, this Preliminary Order of Forfeiture shall become final as to the
defendant at the time of sentencing and shall be made part of the sentence and included
in the judgment. If no third party files a timely claim, this Order shall become the
Final Order of Forfeiture as provided by Rule 32.2(c)(2), Federal Rules of Criminal
Procedure.

IT IS FURTHER ORDERED that after the disposition of any motion filed under
Rule 32.2(c)(1)(A), Federal Rules of Criminal Procedure and before a hearing on any
third party petition, discovery may be conducted in accordance with the Federal Rules
of Civil Procedure upon a showing that such discovery is necessary or desirable to
resolve factual issues.

IT IS FURTHER ORDERED that the United States shall have clear title to the
above-described properties listed above following the Court’s disposition of all third
party interests, or, if none, following the expiration of the period provided in Title 21,
United States Code, Section 853(n) for the filing of third party petitions.

IT IS FURTHER ORDERED that the Court shall retain jurisdiction to enforce
this Order, and to amend it as necessary, pursuant to Rule 32.2(e), Federal Rules of
Criminal Procedure.

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PRELIMINARY ORDER OF FORFEITURE - 3 UNITED STATES ATTORNEY

601 Union Street, Suite 5100
(CR02-5719RJB) Seattle, Washington 98101-3903
(206) 553-7970
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The Clerk of the Court is directed to send a copy of this Preliminary Order of
Forfeiture to all counsel of record and eighteen (18) “raised sealed” certified copies to
the United States Marshals Service in Seattle, Washington.

DATED this 21>" day of

 

 

istant United States Attorn¢y

 

 

CHARD E, COHEN
Assistant United States Attorney

pS

PRET E Pu er

Attorney for Defendant
ROBERT KEPPEL

Defendant
PRELIMINARY ORDER OF FORFEITURE - 4 UNITED STATES ATTORNEY
(CRO2-5719RJB} 601 Union Street, Suite 5100

Seattle, Washington 98101-3903
(206) 553-7970
Case 3:02-cr-05719-RBL Document 23 Filed 01/31/03 Page 5of5

ec
United States District Court
for the
Western District of Washington
February 3, 2003

* * MATLING CERTIFICATE OF CLERK * *

Re: 3:02-cr-05719

True and correct copies of the attached were mailed by the clerk to the
following:

USPO - Tacoma

US PROBATION OFFICE
ROOM 1310

1717 PACIFIC AVE
TACOMA, WA 98402-3231
FAX 1-253-593-6378

PTS - Tacoma
PRETRIAL SERVICES
1717 PACIFIC AVE
TACOMA, WA 98402
FAX 1-253-593-6435

Michelle R Burrows, Esq.
KOHLER & BURROWS

STE 203

618 NW GLISAN

PORTLAND, OR 97209

Annette L Hayes, Esq.

U S ATTORNEY'S OFFICE
STE 5100

601 UNION ST

SBATTLE, WA 98101-3903
FAX 553-2502

Richard Edward Cohen, Esq.
U S ATTORNEY'S OFFICE

STE 5100

601 UNION ST

SEATTLE, WA 98101-3903
FAX 553-6934

USMO (18 CERTS)
RBL

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